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                              Analysis of 160 Closed Cases
      • Not Substantiated: 116 cases

      • Substantiated: 44 cases

             • 2 Sexual Misconduct (both police-involved)

             • 6 Sexual Harassment or Gender Discrimination

             • 36 other non-sexual CPS policy violations, including improper
               electronic communications and other unprofessional or
               inappropriate conduct.

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     Allegations 10/01/18 to 06/30/19 by Job Category
1.      Teacher — 204 allegations — Approximately 19,000 positions — 1.07 % subject of complaint.
2.      Security Guard — 67 allegations — Approximately 1,700 positions — 3.94% subject of complaint.
        (3 additional vendor employee subjects are security guards)
       * This is a significant increase from the OIG’s April 24, 2019 report with 44 allegations, or 2.50% of security guards.

3.      Vendor Employee — 39 allegations
4.      Special Education Classroom Assistant (SECA) — 29 allegations —Approximately 4,000 positions
        — .07% subject of complaint. (7 non-SECA Classroom Assistants are subjects of complaints)
5.      Substitute Teacher — 27 allegations
There are 101 other subjects of OIG SAU cases, including 15 Assistant Principals or Principals, 9 Bus
Personnel, and 77 people with various other job titles.



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       14 CPS-Affiliated Adults Charged by Police
             during 2018-19 School Year
• Aggravated/Predatory Criminal Sexual Assault      • Aggravated Criminal Sexual Abuse (5):
  (4):                                                  • Teacher, alleged victims are CPS students
    • Dean/Coach, alleged victims are CPS students      • Teacher, alleged conduct against CPS
    • Teacher, alleged victim is former CPS student       student occurred years ago
       (other charges also pending)
                                                        • SECA, alleged victim is CPS student.
    • Bus driver, alleged victims were family             Employment terminated by CPS 1 year
       members (and CPS students, other charges           before this and other charges brought.
       also pending)
                                                        • Custodian, alleged victim was a neighbor
    • Vendor employee, alleged victim is a CPS
                                                          (and CPS student)
       student (other charges also pending)
                                                                               • Volunteer, alleged conduct against CPS
                                                                                 students occurred years ago (other charges
                                                                                 also pending)



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 14 CPS/Vendor Staff Charged by Police during
       2018-19 School Year, continued
• Indecent Solicitation of a Minor (1):
    • Teacher, no actual victim involved (sting operation)

• Misdemeanor Battery (3):
   • Teacher, alleged victims are CPS students
   • Teacher, alleged victim is CPS student
   • Bus Aide, alleged victim is CPS student

• Aggravated Battery (1):
   • Teacher, alleged victim was CPS student at time of alleged conduct


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